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                       2 San Francisco CA 94133
                           Telephone: 415/986-5591
                       3
                           Attorney for Defendant
                       4 ETHAN STUART

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                       7                        UNITED STATES DISTRICT COURT

                       8                       EASTERN DISTRICT OF CALIFORNIA

                       9

                      10 UNITED STATES OF AMERICA,

                      11              Plaintiff,                    CR 12-0076 WBS

                      12        v.                                  STIPULATION AND ORDER
                                                                    CONTINUING STATUS CONFERENCE
                      13 SEAN FARRELL and ETHAN STUART,             AND EXCLUDING TIME
                                                                    Date: February 25, 2013
                      14              Defendants.                   Time: 9:30 a.m.
                                                            /
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                      16        Defendants SEAN FARRELL and ETHAN STUART, by and through

                      17 their attorneys, and plaintiff United States of America, by and

                      18 through its attorney, hereby stipulate and agree that the status

                      19 conference of February 25, 2013 at 9:30 a.m., should be

                      20 continued to May 6, 2013 at 9:30 a.m.

                      21        The parties are still ironing out discovery related issues

                      22 and working with the government to obtain additional discovery

                      23 in this matter, which is relevant and necessary prior to the

                      24 submission of motions including the Motion to Quash and Motion

                      25 to Traverse the Warrant, both relating to the suppression of

                      26 evidence, which could be dispositive to this case.

                      27        For these reasons, the parties respectfully request that
LAW OFFICES
506 BROADWAY          28 the Court continue the status conference date currently set for
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331

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                       1 February 25, 2013 at 9:30 a.m. and set a new status conference

                       2 date of May 6, 2013 at 9:30 a.m.

                       3        The parties agree to exclude time, based on the pendency of

                       4 the motions, pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(i) &

                       5 (iv) and Local Code T4, and the continuity of counsel, such that

                       6 the ends of justice served by granting such a continuance

                       7 outweigh the best interests of the public and the defendant in a

                       8 speedy trial because the failure to grant such a continuance

                       9 would unreasonably deny the defendant continuity of counsel.

                      10        Accordingly, the parties stipulate and agree that time

                      11 should be excluded under the Speedy Trial Act pursuant to 18

                      12 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4.            The parties

                      13 stipulate that the ends of justice are served by the Court

                      14 excluding such time, so that counsel for each defendant may have

                      15 reasonable time necessary for effective preparation, taking into

                      16 account the exercise of due diligence and continuity of counsel.

                      17 The parties further stipulate and agree that time for trial

                      18 under the Speedy Trial Act be excluded pursuant to 18 U.S.C.

                      19 § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and T-4.

                      20        Dated: February 20, 2013

                      21
                            /s/J. TONY SERRA                         /s/RANDOLPH E. DAAR
                      22 J. TONY SERRA                              RANDOLPH E. DAAR
                           Attorney for ETHAN STUART                Attorney for SEAN FARRELL
                      23

                      24
                                                                     /s/JASON HITT
                      25                                            Assistant U.S. Attorney

                      26

                      27
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                       7                        UNITED STATES DISTRICT COURT

                       8                       EASTERN DISTRICT OF CALIFORNIA

                       9

                      10 UNITED STATES OF AMERICA,

                      11               Plaintiff,                 CR 12-0076 WBS

                      12        v.
                                                                                 ORDER
                      13 SEAN FARRELL and ETHAN STUART,

                      14               Defendants.
                                                            /
                      15

                      16        Pursuant to the stipulation of the parties and good cause

                      17 appearing, IT IS HEREBY ORDERED that:

                      18        1.     The status conference in this matter set for February

                      19 25, 2013 is continued, and a new status conference be set for

                      20 May 6, 2013, at 9:30 a.m.; and

                      21        3.     Based upon the representations and stipulation of the

                      22 parties, the Court finds that the time exclusion under 18 U.S.C.

                      23 § 3161(h)(8)(B)(iv) applies and the ends of justice outweigh the

                      24 best interest of the public and the defendants in a speedy

                      25 trial.      The parties further stipulate and agree that time for

                      26 trial under the Speedy Trial Act be excluded pursuant to 18

                      27 U.S.C. § 3161(h)(1)(D) & (h)(7)(A) & (B)(iv), Local Codes E and
LAW OFFICES
506 BROADWAY          28 T-4.    Accordingly, time under the Speedy Trial Act shall be
SAN FRANCISCO
  (415) 986-5591
Fax: (415) 421-1331        excluded from February 25, 2013 up to and including May 6, 2013.
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                       1       IT IS SO ORDERED.

                       2       Dated:    February 21, 2013

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